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                            UNITED STATES DISTRICT COURT
                                DISTRICT OF COLUMBIA



BROIDY CAPITAL MANAGEMENT, LLC and                          Civil Action No. 1:19-cv-00150-DLF
ELLIOTT BROIDY
                    Plaintiffs,

       v.

NICOLAS D. MUZIN, JOSEPH ALLAHAM,
GREGORY HOWARD, and STONINGTON
STRATEGIES LLC
                      Defendants.


         DEFENDANT NICOLAS D. MUZIN’S OBJECTIONS AND RESPONSES
              TO PLAINTIFFS’ FIRST SET OF INTERROGATORIES

       Defendant Nicolas D. Muzin (“Muzin”), by counsel and pursuant to Rules 26 and 33 of the

Federal Rules of Civil Procedure and the Local Rules of this Court, hereby objects and responds

to the First Interrogatories (“Interrogatories”) propounded by Plaintiffs Broidy Capital

Management, LLC and Elliott Broidy (“Broidy”). Without waiving or prejudicing the following

objections, Muzin reserves his right to supplement or amend the response to any of the

Interrogatories should he become aware of additional information or documents.

                                   GENERAL OBJECTIONS

       With respect to the Interrogatories propounded by Broidy, Muzin asserts the following

general objections:

       A.      Muzin objects generally to Broidy’s Definitions and Instructions to the extent they

seek to impose any obligations greater than or in conflict with those established by law, the rules

of this Court, the Federal Rules of Civil Procedure, and/or orders entered by the Court in this case.

       B.      Muzin objects generally to the Interrogatories insofar as they seek material covered

by the attorney-client privilege, the attorney work-product doctrine, or any other applicable
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privilege or immunity (collectively, “Privileged Information”). Any inadvertent production of

Privileged Information shall not be deemed a waiver of the applicable privilege or this objection.

       C.      Muzin objects generally to the Interrogatories to the extent they seek confidential

or proprietary information (collectively, “Proprietary Information”). Muzin will only disclose

Proprietary Information consistent with the Court’s protective order (Dkt. No. 96). Muzin reserves

the right to designate information pursuant to that Order.

       D.      Muzin objects generally to the Interrogatories to the extent they seek information

that is subject to protection under the Vienna Convention on Diplomatic Relations and the Vienna

Convention on Consular Relations and relates to the conduct by Qatar of its foreign policy.

Discovery materials are absolutely protected from disclosure under the Vienna Conventions,

which provide that the documents and information of a diplomatic mission are “inviolable at any

time and wherever they may be.” Vienna Convention on Diplomatic Relations, art. 24, Apr. 18,

1961, 23 U.S.T. 3227, 500 U.N.T.S. 95, 108; see also Vienna Convention on Consular Relations

and Optional Protocol on Disputes, art. 33, Apr. 24, 1963, 21 U.S.T. 77, 596 U.N.T.S. 261, 289

(providing the same inviolability for consular archives). The Ninth Circuit has also determined

that Qatar is immune from suit. See Broidy Capital Mgmt., LLC v. Qatar, 982 F.3d 582, 586 (9th

Cir. 2020). That means not only that Qatar has “immunity from trial” but also from “the attendant

burdens of litigation.” Kilburn v. Socialist People’s Libyan Arab Jamahiriya, 376 F.3d 1123, 1126

(D.C. Cir. 2004) (quoting Jungquist v. Sheikh Sultan Bin Khalifa Al Nahyan, 115 F.3d 1020, 1026

(D.C. Cir. 1997)).

       E.      Muzin objects generally to the Interrogatories to the extent they seek information

contained in documents and correspondence that are protected by principles of international

comity in light of Qatar’s interest in maintaining the confidentiality of information that relates to

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its governmental policies. See Notice of Interest by Non-Party State of Qatar, ECF No. 66 (Oct.

21, 2021); see also Societe Nationale Industrielle Aerospatiale v. U.S. Dist. Ct. for S. Dist. of Iowa,

482 U.S. 522, 546 (1987).

        F.         Muzin objects generally to the Interrogatories to the extent they seek information

that is subject to protection from disclosure by the First Amendment or any reporter’s privilege.

The First Amendment reporter’s privilege “shields both confidential and nonconfidential

information from compelled disclosure,” Hutira v. Islamic Republic of Iran, 211 F. Supp. 2d 115,

120 (D.D.C. 2002), and that privilege belongs wholly to “the reporter not the informant or the

public, Anderson v. Nixon, 444 F. Supp. 1195, 1198 (D.D.C. 1978); see In re Miller, 438 F.3d

1141, 1177 (D.C. Cir. 2006) (Tatel, J., concurring in the judgment) (“[T]he privilege belongs to

the reporter.”).

        G.         Muzin objects generally to the Interrogatories on the grounds of overbreadth and

undue burden to the extent that they seek information that is not related or relevant to any party’s

claim or defense presented in this matter, exceeds the scope of permissible discovery, or is not

proportional to the needs of the case.

        H.         Muzin objects generally to the Interrogatories on the grounds of overbreadth and

undue burden as they seek information from an undefined, overly broad, or unduly burdensome

time period. Muzin will not provide information generated after Broidy first filed suit against

Muzin for the same alleged conduct in the U.S. District Court for the Central District of California

on March 26, 2018.

        I.         Muzin objects generally to the Interrogatories on the grounds of overbreadth and

undue burden to the extent they seek information that is not obtainable through a reasonably

diligent search by Muzin.

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       J.      Muzin objects generally to the Interrogatories to the extent they seek information

that is publicly available and/or equally or more readily available to Broidy.

       K.      Muzin objects generally to the Interrogatories to the extent that they refer to

undefined, vague, or ambiguous terms or terms to which the parties have attributed different and

contrary meanings over time.

       L.      Muzin objects generally to Broidy’s Instructions to the extent they call for

information that is outside of Muzin’s custody, possession, or control or that is a matter of public

record. Muzin further objects to Broidy’s Instructions to the extent they call for Privileged

Information.

       M.      Muzin objects generally to Broidy’s Instructions on grounds of overbreadth and

undue burden to the extent they require a description or discussion of documents or things that

were never in Muzin’s possession, custody, or control.

       N.      Muzin objects generally to the Interrogatories to the extent that they use language

incorporating or calling for a legal conclusion or making an erroneous statement of law or fact.

Muzin’s objections shall not be construed as admitting to any legal conclusion or erroneous

statement of fact within the Interrogatories.

       O.      Unless otherwise so stated, by objecting to the Interrogatories, Muzin’s objections

are not intended to be and shall not be construed as an admission of the matters stated, implied, or

assumed by the Interrogatories. No objection or limitation, or lack thereof, made in these

objections should be deemed an admission by Muzin as to the existence or nonexistence of

information.

       P.      Muzin objects generally to Definition No. 2, which defines “Muzin” to include “any

other Person from whom the information sought is available to you,” as overly broad as it includes

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people other than Muzin’s agents and is unlimited in scope. Muzin further objects to this

Definition to the extent it seeks to include Privileged Information.

        Q.      Muzin objects generally to Definition No. 7, which defines “Stonington,” as overly

broad as it includes people other than Stonington’s agents and that are outside of Muzin’s custody

or control. Muzin further objects to this Definition to the extent it seeks to include Privileged

Information.

        R.      Muzin objects generally to Broidy’s Definition No. 10, which defines “Hacked

Materials,” as it includes lawfully obtained, as well as publicly available, materials for which there

is no fault or liability in possessing.

        S.      Muzin’s responses to these Interrogatories do not constitute a waiver of any

objections that Muzin may have as to the admissibility, authenticity, or relevance of any

information provided.       Muzin reserves all objections regarding the relevance, materiality,

admissibility, privilege, or competency of all information provided in response to these

Interrogatories as evidence in any later proceeding or trial of this action.

        T.      Without waiving or prejudicing the foregoing objections, Muzin reserves his right

to supplement or amend his response to any of the Interrogatories should he become aware of

additional information or documents.

                          SPECIFIC OBJECTIONS AND RESPONSES

        With respect to the Interrogatories propounded by Plaintiffs, Muzin specifically objects

and responds as follows:

INTERROGATORY NO. 1: Identify all Persons having knowledge of any fact alleged in the

pleadings and, for each person, please state all facts about which the Person has knowledge and

the Person’s last known address and telephone number.

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       Specific Objections: Muzin specifically objects to Interrogatory No. 1 as it seeks to

impose obligations greater than or in conflict with the rules of this Court, the Federal Rules of

Civil Procedure, the Orders entered by the Court, and any agreements of the parties. Muzin objects

to this Interrogatory as overly broad and unduly burdensome, because it seeks information

regarding “all Persons having knowledge.”         This request is unlimited in scope and seeks

information that is not relevant to any claim or defense in this matter, exceeds the scope of

permissible discovery, and is not proportional to the needs of the case. This Interrogatory is also

overbroad and unduly burdensome as it is not limited in time. Muzin will not provide information

that was generated after March 26, 2018, the date on which Broidy first filed suit against Muzin

for the same alleged conduct in the U.S. District Court for the Central District of California. Muzin

further objects to this Interrogatory to the extent it seeks information regarding allegations or

claims that were dismissed by the Court in its March 31, 2020 Memorandum Opinion. Muzin

objects to this Interrogatory as overly broad and unduly burdensome, as it seeks information

regarding “All Persons,” including information that is outside of Muzin’s custody, control, or

possession. Muzin objects to this Interrogatory as it seeks information that is duplicative of

information already provided in Muzin’s Rule 26(a)(1) Initial Disclosures. Muzin further objects

to this Interrogatory on the grounds that it seeks Privileged Information. Muzin objects to this

Interrogatory to the extent is seeks information that is protected from disclosure due to principles

of international comity and by Qatar’s sovereign immunity and the Vienna Conventions. Muzin

also objects to this Interrogatory as overbroad and unduly burdensome as it seeks information that

is publicly available or is equally or more readily available to Broidy, particularly as it seeks

information regarding Broidy’s allegations, and would even include Broidy himself. Muzin

objects to Broidy’s use of the term “identify” to the extent it constitutes separate interrogatory

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requests in violation of Rule 33(a)(1) and the parties’ agreement limiting the number of

interrogatories.

       Response: Subject to and without waiving any of his objections, Muzin responds as

follows:


           Name                     Address                    Subject of Information

 Dr. Nicolas Muzin c/o WILEY REIN LLP                      Dr. Muzin has knowledge of the
                   Stephen J. Obermeier                    scope and nature of Stonington’s
                   1776 K Street, N.W.                     work for Qatar, when the
                   Washington, DC 20006                    Stonington Defendants first
                   Telephone: (202) 719-7000               learned of the alleged hacking
                                                           identified in the First Amended
                                                           Complaint       (the     “Alleged
                                                           Hacking”),      the    Stonington
                                                           Defendants’      lack   of    any
                                                           involvement in the Alleged
                                                           Hacking, and the Stonington
                                                           Defendants’ lack of any inside
                                                           knowledge      concerning     the
                                                           Alleged Hacking.

 Greg Howard           c/o Walden Macht & Haran            Mr. Howard is expected to have
                       Jeffrey Udell                       knowledge concerning the work
                       One Battery Park Plaza              performed by Stonington for
                        New York, NY 10004                 Qatar.
                       Telephone: (212) 335-2030

 Joseph Allaham        c/o Arent Fox LLP                   Mr. Allaham has knowledge of
                       Eric Roman                          the scope and nature of the work
                       1301 Avenue of the Americas, 42nd   performed by Stonington for
                       Floor                               Qatar.
                       New York, NY 10019
                       Telephone: (212) 484-3900

 Jamal Benomar         Winston & Strawn LLP                Mr. Benomar has knowledge of
                       c/o Abbe David Lowell, Esq.         the scope and nature of the work
                       200 Park Ave.                       performed by Stonington for
                       New York, NY 10166                  Qatar.
                       (212) 294-6700


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Tom Lobianco         Telephone: (410) 206-2844          Mr. Lobianco has knowledge
                                                        regarding        Dr.       Muzin’s
                                                        communications               with
                                                        representatives of the press
                                                        regarding the Alleged Hacking
                                                        and Plaintiffs’ allegations.

Ben Wieder           McClatchy, Washington Bureau       Mr. Wieder has knowledge
                     Email: bwieder@mcclatchydc.com     regarding        Dr.       Muzin’s
                     Telephone: (202) 383-6125          communications               with
                                                        representatives of the press
                                                        regarding the Alleged Hacking
                                                        and Plaintiffs’ allegations.

David Voreacos       Bloomberg                          Mr. Voreacos has knowledge
                     Email: dvoreacos@bloomberg.net     regarding        Dr.       Muzin’s
                                                        communications               with
                                                        representatives of the press
                                                        regarding the Alleged Hacking
                                                        and Plaintiffs’ allegations.

Dan Friedman         Mother Jones                       Mr. Friedman has knowledge
                     Email: dfriedman@motherjones.com   regarding        Dr.       Muzin’s
                     Telephone: (202) 290-5424          communications               with
                                                        representatives of the press
                                                        regarding the Alleged Hacking
                                                        and Plaintiffs’ allegations.

Batya Ungar-Sargon   Newsweek                           Ms. Ungar-Sargon has knowledge
                     Email:                             regarding        Dr.       Muzin’s
                     b.ungarsargon@newsweek.com         communications               with
                     Telephone: (347) 479-4199          representatives of the press
                                                        regarding the Alleged Hacking
                                                        and Plaintiffs’ allegations.

Elliott Broidy       c/o Kasowitz Benson Torres LLP     Mr. Broidy is expected to have
                     Henry Brownstein                   knowledge of the nature and
                     1399 New York Ave., NW,            extent of any pre-lawsuit
                     Suite 201                          investigation concerning the
                     Washington, D.C. 20005             claims against the Stonington
                     (202) 763-3403                     Defendants, the decision to
                                                        include       the      Stonington
                                                        Defendants in this litigation, the
                                                        allegations made in the First
                                                        Amended Complaint, and the
                                                        results    of     any     forensic

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                                                              investigation into the Alleged
                                                              Hacking.

 Robin Rosenzweig      722 N Maple Drive                      Ms. Rosenzweig is expected to
                       Beverly Hills, CA 90210-3411           have knowledge of the nature and
                       (310) 553-5050                         extent of any pre-lawsuit
                                                              investigation concerning the
                                                              claims against the Stonington
                                                              Defendants, the allegations made
                                                              in the First Amended Complaint,
                                                              and the results of any forensic
                                                              investigation into the Alleged
                                                              Hacking.

 Joel Mowbray          166 N. Williams Drive                  Mr. Mowbray is expected to have
                       Beverly Hills, CA 90211-2113           knowledge of the nature and
                       (202) 437-5378                         extent of any pre-lawsuit
                                                              investigation concerning the
                                                              claims against the Stonington
                                                              Defendants, the decision to
                                                              include       the      Stonington
                                                              Defendants in this litigation, the
                                                              allegations made in the First
                                                              Amended Complaint, and the
                                                              results    of     any     forensic
                                                              investigation into the Alleged
                                                              Hacking. Mr. Mowbray is also
                                                              expected to have knowledge of
                                                              his conversations with Dr. Muzin
                                                              reported in the First Amended
                                                              Complaint.

 J. Luke Tenery        Ankura Consulting Group, LLC           Mr. Tenery is expected to have
                       1 North Wacker Drive,                  knowledge     of    his   firm’s
                       Suite 1950                             investigation of the Alleged
                       Chicago, IL 60606                      Hacking, the allegations made in
                       Telephone: (312) 252-9510              the First Amended Complaint,
                                                              and the results of any forensic
                                                              investigation into the Alleged
                                                              Hacking.



       Subject to and without waiving any of his objections, Muzin also refers Broidy to the

substance of his forthcoming document production, pursuant to Federal Rule of Civil Procedure

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33(d). Muzin will update these responses with specific document references consistent with the

Rule as documents are produced.

       Muzin has no knowledge whether additional individuals or entities that are not listed herein

or that are not named in Broidy’s First Amended Complaint (“FAC”) have relevant and material

information regarding the claims or defenses in this case.

INTERROGATORY NO. 2: Identify each journalist and reporter with whom you have

previously discussed any topics related to Broidy, and provide the date and substance of the

discussion.

       Specific Objections: Muzin specifically objects to Interrogatory No. 2 as it seeks to

impose obligations greater than or in conflict with the rules of this Court, the Federal Rules of

Civil Procedure, the Orders entered by the Court, and any agreements of the parties. Muzin objects

to this Interrogatory as overly broad and unduly burdensome, because it seeks information

regarding “each journalist and reporter” with whom Muzin has discussed “any topics related to

Broidy,” including information that is not relevant to any claim or defense in this case, exceeds

the scope of permissible discovery, and is not proportional to the needs of the case. This

Interrogatory is also overbroad and unduly burdensome as it is not limited in time. Muzin will not

provide information that was generated after March 26, 2018, the date on which Broidy first filed

suit against Muzin for the same alleged conduct in the U.S. District Court for the Central District

of California. Muzin further objects to this Interrogatory to the extent it seeks information that is

protected from disclosure by the First Amendment or any reporter’s privilege.      Muzin objects to

this Interrogatory to the extent that it seeks Proprietary Information. Muzin also objects to this

Interrogatory as overbroad and unduly burdensome as it seeks information that is publicly

available or is equally or more readily available to Broidy. Muzin objects to Broidy’s use of the

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term “identify” to the extent it constitutes separate interrogatory requests in violation of Rule

33(a)(1) and the parties’ agreement limiting the number of interrogatories.

       Response: Subject to and without waiving any of his objections, Muzin identifies the

following journalists and reporters with whom he remembers communicating regarding Broidy

prior to March 26, 2018:

          Tom Lobianco

          Ben Wieder

          David Voreacos

          Batya Ungar-Sargon

          Dan Friedman

       After the alleged hack of Broidy, these reporters contacted Muzin by email and telephone

to ask questions about Broidy. A list of Muzin’s telephone conversations with these reporters and

journalists is provided in Attachment A, attached hereto.

       Muzin does not recall the specifics of any oral communications. However, Muzin did not

contact any reporters or journalists regarding the alleged hack unless responding to a request for

information from the reporter or journalist. Muzin never provided any documents or information

allegedly taken from Broidy to any journalist or reporter, and no journalist or reporter ever

provided any documents to Muzin allegedly taken from Broidy.

       Subject to and without waiving any of his objections, Muzin also refers Broidy to the

substance of his forthcoming document production, pursuant to Federal Rule of Civil Procedure

33(d). Muzin will update these responses with specific document references consistent with the

Rule as documents are produced.



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INTERROGATORY NO. 3: Describe each proposal, report, status update, or any other type of

information you shared with Qatar or others that contained any mention or discussion of Plaintiffs

or related entities, including planned or published media accounts about Broidy, the Hacked

Materials, or the Forged Russian documents at any time between March 1, 2017 and December

31, 2019.

       Specific Objections: Muzin specifically objects to Interrogatory No. 3 to the extent it seeks

to impose obligations greater than or in conflict with the rules of this Court, the Federal Rules of

Civil Procedure, the Orders entered by the Court, and any agreements of the parties. Muzin objects

to this Interrogatory as overly broad and unduly burdensome, because it seeks information

regarding “each proposal, report, status update, or any other type of information” shared with

“Qatar or others,” that is not relevant to any claim or defense in this case, exceeds the scope of

permissible discovery, and is not proportional to the needs of the case. Muzin objects to the

Interrogatory as overbroad as it incorporates the term “Hacked Materials,” which includes publicly

available materials. This Interrogatory is also overbroad and unduly burdensome in that it seeks

information created long after the time frame of the allegations contained in the FAC. Muzin will

not provide information that was generated after March 26, 2018, the date on which Broidy first

filed suit against Muzin for the same alleged conduct in the U.S. District Court for the Central

District of California. Muzin objects to this Interrogatory to the extent it is duplicative of

Interrogatory No. 2. Muzin also objects to use of the terms “media,” “related entities,” “proposal,”

“report,” and “status update,” as vague and ambiguous. Muzin further objects to this Interrogatory

to the extent it seeks information that is protected from disclosure by the First Amendment or any

reporter’s privilege. Muzin objects to this Interrogatory as it seeks information that is protected

from disclosure due to principles of international comity and by Qatar’s sovereign immunity and

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the Vienna Conventions. Muzin further objects to this Interrogatory on the grounds that it seeks

Privileged Information.    Muzin also objects to this Interrogatory as overbroad and unduly

burdensome to the extent it seeks information that is publicly available or is equally or more readily

available to Broidy. Muzin also objects to this Interrogatory to the extent that it seeks Proprietary

Information. Muzin objects to Broidy’s use of the term “describe” to the extent it constitutes

separate interrogatory requests in violation of Rule 33(a)(1) and the parties’ agreement limiting

the number of interrogatories.

       Response: Subject to and without waiving any of his objections, Muzin responds that he

will not provide information, documents, or materials subject to protection due to principles of

international comity and by the Vienna Conventions or Qatar’s sovereign or diplomatic immunity,

including proposals, reports, status updates, or any other type of information shared with Qatar in

relation to Stonington’s work for Qatar as a FARA-registered agent.

       Muzin further will not provide information, documents, or materials created after March

26, 2018, the date that Broidy filed his initial case against Muzin in the Central District of

California.

       Subject to and without waiving any of his objections, and with respect to information

shared with “others” that mentions or discusses Broidy, other than the communications described

in response to Interrogatory No. 2, Muzin refers Broidy to the substance of his forthcoming

document production, pursuant to Federal Rule of Civil Procedure 33(d). Muzin will update these

responses with specific document references consistent with the Rule as documents are produced.

       Subject to and without waiving any of his objections, Muzin recalls that he had oral

communications concerning Broidy.           Muzin does not recall the specifics of the oral

communications or dates.

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INTERROGATORY NO. 4: Describe all work you performed for Qatar between March 1, 2017

and December 31, 2019.

       Specific Objections: Muzin specifically objects to Interrogatory No. 4 as it seeks to

impose obligations greater than or in conflict with the rules of this Court, the Federal Rules of

Civil Procedure, the Orders entered by the Court, and any agreements of the parties. Muzin objects

to this Interrogatory as overly broad and unduly burdensome, because it seeks information

regarding “all work” performed for Qatar, without consideration whether the information was

material, publicly available, or relevant to the claims or defenses remaining in this case. Muzin

objects to this Interrogatory as overbroad and unduly burdensome as it seeks information that is

not relevant to any claim or defense in this matter, exceeds the scope of permissible discovery, and

is not proportional to the needs of the case. Muzin objects to this Interrogatory to the extent it is

duplicative of Interrogatory No. 3. Muzin objects to this Interrogatory as it seeks information that

is protected from disclosure due to principles of international comity and by Qatar’s sovereign

immunity and the Vienna Conventions. Muzin also objects to this Interrogatory as overbroad and

unduly burdensome to the extent it seeks information that is publicly available or is equally or

more readily available to Broidy. Muzin also objects to this Interrogatory to the extent that it seeks

Proprietary Information. Muzin objects to Broidy’s use of the term “describe” to the extent it

constitutes separate interrogatory requests in violation of Rule 33(a)(1) and the parties’ agreement

limiting the number of interrogatories.

       Response: Subject to and without waiving any of his objections, Muzin responds that he

will not provide information, documents, or materials subject to protection due to principles of

international comity and by the Vienna Conventions or Qatar’s sovereign or diplomatic immunity,

in relation to Stonington’s work for Qatar as a FARA-registered agent. Muzin refers Broidy to

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Stonington’s publicly filed FARA reports and registrations, which are available through the

following webpage: https://efile.fara.gov/ords/fara/f?p=1235:10. Stonington began working for

Qatar in August 2017. By February 2018, although Stonington remained under contract with

Qatar, Stonington had ceased obtaining additional projects from Qatar. Stonington’s contract

expired no later than August 2018.

INTERROGATORY NO. 5: Describe all payments you received directly or indirectly from Qatar

or any of its agents, affiliates, or related entities between March 1, 2017 and December 31, 2019,

including the date, amount, payor, and reason for each payment.

       Specific Objections: Muzin specifically objects to Interrogatory No. 5 to the extent it seeks

to impose obligations greater than or in conflict with the rules of this Court, the Federal Rules of

Civil Procedure, the Orders entered by the Court, and any agreements of the parties. Muzin objects

to this Interrogatory as overly broad and unduly burdensome, because it seeks information that is

not relevant to any claim or defense in this matter, exceeds the scope of permissible discovery, and

is not proportional to the needs of the case. Further the terms “indirectly” and “related entities”

are vague and ambiguous. This Interrogatory is also overbroad and unduly burdensome in that it

seeks information created long after the time frame of the allegations contained in the FAC. Muzin

will not provide information that was created after March 26, 2018, the date on which Broidy first

filed suit against Muzin for the same alleged conduct in the U.S. District Court for the Central

District of California. Muzin objects to this Interrogatory to the extent it is duplicative of

Interrogatory No. 4. Muzin objects to this Interrogatory as it seeks information that is protected

from disclosure due to principles of international comity and by Qatar’s sovereign immunity and

the Vienna Conventions. Muzin also objects to this Interrogatory as overbroad and unduly

burdensome to the extent it seeks information that is publicly available or is equally or more readily

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available to Broidy. Muzin objects to Broidy’s use of the term “describe” to the extent it

constitutes separate interrogatory requests in violation of Rule 33(a)(1) and the parties’ agreement

limiting the number of interrogatories.

       Response: Subject to and without waiving any of his objections, Muzin states that he did

not personally receive payments from Qatar separate and apart from payments that Qatar made to

Stonington in relation to the work that Stonington did for Qatar as a FARA-registered agent. For

those records, Muzin refers Broidy to Stonington’s publicly filed FARA reports and registrations,

which describe all payments received from Qatar to Stonington and the reasons for those payments,

and       which        are       available        through        the       following        webpage:

https://efile.fara.gov/ords/fara/f?p=1235:10.

       Muzin further responds that he will not provide information, documents, or materials

subject to protection due to principles of international comity and by the Vienna Conventions or

Qatar’s sovereign or diplomatic immunity, including non-public information regarding

Stonington’s work for Qatar as a FARA-registered agent.

       Muzin further will not provide information or documents generated after March 26, 2018,

the date that Broidy filed his initial case against Muzin in the Central District of California.

       INTERROGATORY NO. 6: Describe all knowledge you have about plans or efforts to

hack the phones, computers, email accounts, and computer systems of Plaintiffs or related entities

from March 1, 2017 until the present.

       Specific Objections: Muzin specifically objects to Interrogatory No. 6 to the extent it seeks

to impose obligations greater than or in conflict with the rules of this Court, the Federal Rules of

Civil Procedure, the Orders entered by the Court, and any agreements of the parties. Muzin objects

to this Interrogatory as overly broad and unduly burdensome, because it seeks information that is

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not relevant to any claim or defense in this matter, exceeds the scope of permissible discovery, and

is not proportional to the needs of the case. Further the terms “hack” and “related entities” are

vague and ambiguous.       Muzin objects to this Interrogatory as overly broad and unduly

burdensome, to the extent it seeks information that is outside of Muzin’s custody, control, or

possession.     This Interrogatory is also overbroad and unduly burdensome in that it seeks

information created long after the time frame of the allegations contained in the FAC. Muzin also

objects to this Interrogatory as overbroad and unduly burdensome to the extent it seeks information

that is publicly available or is equally or more readily available to Broidy. Muzin objects to

Broidy’s use of the term “describe” to the extent it constitutes separate interrogatory requests in

violation of Rule 33(a)(1) and the parties’ agreement limiting the number of interrogatories.

       Response: Subject to and without waiving any of his objections, Muzin responds that he

has and had no knowledge of any plans or efforts to hack the phones, computers, email accounts,

and computer systems of Broidy or related entities, or anyone else, including the alleged hack(s)

described in the FAC. Muzin further has and had no knowledge regarding who committed the

alleged hack.

INTERROGATORY NO. 7: Describe all knowledge you have about how the media obtained the

Hacked Materials between January 1, 2018 and December 31, 2019.

       Specific Objections: Muzin specifically objects to Interrogatory No. 7 to the extent it seeks

to impose obligations greater than or in conflict with the rules of this Court, the Federal Rules of

Civil Procedure, the Orders entered by the Court, and any agreements of the parties. Muzin objects

to this Interrogatory as overly broad and unduly burdensome, because it seeks information that is

not relevant to any claim or defense in this matter, exceeds the scope of permissible discovery, and

is not proportional to the needs of the case. Muzin objects to the Interrogatory as overbroad as it

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incorporates the term “Hacked Materials,” which includes publicly available materials. Muzin

further objects because the term “media” is vague and ambiguous. Muzin also objects to this

Interrogatory as overbroad and unduly burdensome to the extent it seeks information that is

publicly available or is equally or more readily available to Broidy. Muzin objects to Broidy’s use

of the term “describe” to the extent it constitutes separate interrogatory requests in violation of

Rule 33(a)(1) and the parties’ agreement limiting the number of interrogatories.

       Response: Subject to and without waiving any of his objections, Muzin responds that he

did not provide Hacked Materials to any member of the media, and he has and had no knowledge

of how any member of the media obtained the alleged Hacked Materials, other than what has been

described in publicly available news articles.

INTERROGATORY NO. 8: Describe all knowledge you have about how the hackers researched

and formulated the content found in the spearphishing emails sent to various parties connected to

Plaintiffs starting no later than December 27, 2017.

       Specific Objections: Muzin specifically objects to Interrogatory No. 8 to the extent it seeks

to impose obligations greater than or in conflict with the rules of this Court, the Federal Rules of

Civil Procedure, the Orders entered by the Court, and any agreements of the parties. Muzin objects

to this Interrogatory as overly broad and unduly burdensome, because it seeks information that is

not relevant to any claim or defense in this matter, exceeds the scope of permissible discovery, and

is not proportional to the needs of the case. Muzin further objects that the terms “hackers,”

“spearfishing,” and “various parties connected to Plantiffs” are vague and ambiguous. Muzin also

objects to this Interrogatory as overbroad and unduly burdensome to the extent it seeks information

that is publicly available or is equally or more readily available to Broidy. Muzin objects to




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Broidy’s use of the term “describe” to the extent it constitutes separate interrogatory requests in

violation of Rule 33(a)(1) and the parties’ agreement limiting the number of interrogatories.

       Response: Subject to and without waiving any of his objections, Muzin responds that he

has and had no knowledge about any alleged spearfishing emails sent to any parties connected to

Broidy, other than what has been disclosed publicly in the media and what has been alleged in

Broidy’s various complaints.

INTERROGATORY NO. 9: Describe all knowledge you have about how which Hacked

Materials were selected and curated for the compilations sent to the media between January 2018

and December 31, 2019.

       Specific Objections: Muzin specifically objects to Interrogatory No. 9 to the extent it seeks

to impose obligations greater than or in conflict with the rules of this Court, the Federal Rules of

Civil Procedure, the Orders entered by the Court, and any agreements of the parties. Muzin objects

to this Interrogatory as overly broad and unduly burdensome, because it seeks information that is

not relevant to any claim or defense in this matter, exceeds the scope of permissible discovery, and

is not proportional to the needs of the case. Muzin also objects to the Interrogatory as overbroad

as it incorporates the term “Hacked Materials,” which includes publicly available materials. Muzin

further objects to the terms “media” and “compilations” as vague and ambiguous. Muzin also

objects to this Interrogatory as overbroad and unduly burdensome to the extent it seeks information

that is publicly available or is equally or more readily available to Broidy. Muzin objects to

Broidy’s use of the term “describe” to the extent it constitutes separate interrogatory requests in

violation of Rule 33(a)(1) and the parties’ agreement limiting the number of interrogatories.

       Response: Subject to and without waiving any of his objections, Muzin responds that he

did not select, curate, or send any Hacked Materials sent to members of the media, and he has and

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had no knowledge about the creation, compilation, or sending of Hacked Materials to members of

the media.

INTERROGATORY NO. 10: Describe all knowledge you have about reporters who may have

received something of value, whether financial or otherwise, in exchange for publishing stories

based on the Hacked Materials.

       Specific Objections: Muzin specifically objects to Interrogatory No. 10 to the extent it

seeks to impose obligations greater than or in conflict with the rules of this Court, the Federal

Rules of Civil Procedure, the Orders entered by the Court, and any agreements of the parties.

Muzin objects to this Interrogatory as overly broad and unduly burdensome, because it seeks

information that is not relevant to any claim or defense in this matter, exceeds the scope of

permissible discovery, and is not proportional to the needs of the case. Muzin objects to the

Interrogatory as overbroad as it incorporates the term “Hacked Materials,” which includes publicly

available materials. Muzin further objects that the terms “something of value” and “exchange” are

vague and ambiguous.       Muzin also objects to this Interrogatory as overbroad and unduly

burdensome to the extent it seeks information that is publicly available or is equally or more readily

available to Broidy. Muzin objects to Broidy’s use of the term “describe” to the extent it

constitutes separate interrogatory requests in violation of Rule 33(a)(1) and the parties’ agreement

limiting the number of interrogatories.

       Response: Subject to and without waiving any of his objections, Muzin responds that he

has and had no knowledge about payment or exchanges of value related to the publication of stories

based on the Hacked Materials.




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INTERROGATORY NO. 11: Describe all knowledge you have about the identities and roles of

each person involved with the creation, modification, or dissemination of the Forged Russian

documents between March 1, 2017, and May 31, 2018.

       Specific Objections: Muzin specifically objects to Interrogatory No. 11 to the extent it

seeks to impose obligations greater than or in conflict with the rules of this Court, the Federal

Rules of Civil Procedure, the Orders entered by the Court, and any agreements of the parties.

Muzin objects to this Interrogatory as overly broad and unduly burdensome, because it seeks

information that is not relevant to any claim or defense in this case, exceeds the scope of

permissible discovery, and is not proportional to the needs of the case. Muzin further objects to

the term “involved with” as vague and ambiguous. Muzin also objects to this Interrogatory as

overbroad and unduly burdensome to the extent it seeks information that is publicly available or

is equally or more readily available to Broidy. Muzin objects to Broidy’s use of the term

“describe” to the extent it constitutes separate interrogatory requests in violation of Rule 33(a)(1)

and the parties’ agreement limiting the number of interrogatories.

       Response: Subject to and without waiving any of his objections, Muzin responds that he

did not create, modify, or disseminate the Forged Russian Documents—or any other forged

documents—and he has and had no knowledge about the Forged Russian Documents or any other

forged documents, including the roles or identities of any persons or entities involved in the

creation, modification, or dissemination of any such materials. Indeed, other than the definition

provided herein, Muzin has no knowledge regarding forged Russian documents.

INTERROGATORY NO. 12: Describe all meetings you have had with non-Qatari citizen agents

or representatives of Qatar, including the dates of the meetings, the names of those present, and

the subjects discussed, between March 1, 2017 and December 31, 2019.

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       Specific Objections: Muzin specifically objects to Interrogatory No. 12 to the extent it

seeks to impose obligations greater than or in conflict with the rules of this Court, the Federal

Rules of Civil Procedure, the Orders entered by the Court, and any agreements of the parties.

Muzin objects to this Interrogatory as overly broad and unduly burdensome, because it seeks

information that is not relevant to any claim or defense in this case, exceeds the scope of

permissible discovery, and is not proportional to the needs of the case. This Interrogatory seeks

information that has nothing to do with Broidy or the alleged hack. Further the term “non-Qatari

citizen agents” and “representatives of Qatar” are vague and ambiguous and call for a legal

conclusion. Muzin objects to this Interrogatory because it is duplicative of Interrogatory No. 3.

This Interrogatory is also overbroad and unduly burdensome in that it seeks information created

long after the time frame of the allegations contained in the FAC. Muzin will not provide

information that was created after March 26, 2018, the date on which Broidy first filed suit against

Muzin for the same alleged conduct in the U.S. District Court for the Central District of California.

Muzin objects to this Interrogatory to the extent it seeks information that is protected from

disclosure due to principles of international comity and by Qatar’s sovereign immunity and the

Vienna Conventions. Muzin further objects to this Interrogatory to the extent that it seeks

Privileged Information.    Muzin also objects to this Interrogatory as overbroad and unduly

burdensome to the extent it seeks information that is publicly available or is equally or more readily

available to Broidy. Muzin objects to Broidy’s use of the term “describe” to the extent it

constitutes separate interrogatory requests in violation of Rule 33(a)(1) and the parties’ agreement

limiting the number of interrogatories.

       Response: Subject to and without waiving any of his objections, Muzin responds that he

will not provide information, documents, or materials subject to protection due to principles of

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international comity and by the Vienna Conventions or Qatar’s sovereign or diplomatic immunity,

in relation to Stonington’s work for Qatar as a FARA-registered agent. Muzin refers Broidy to

Stonington’s publicly filed FARA reports and registrations, which are available through the

following webpage: https://efile.fara.gov/ords/fara/f?p=1235:10.

       Muzin further will not produce documents or information generated after March 26, 2018,

the date that Broidy filed his initial case against Muzin in the Central District of California.

INTERROGATORY NO. 13: Describe all non-profit entities in which you have had

administrative or signature authority and all businesses in which you have owned at least 10%

from March 31, 2017 to the present, as well as the names of your business partners in those

ventures.

       Specific Objections: Muzin specifically objects to Interrogatory No. 13 to the extent it

seeks to impose obligations greater than or in conflict with the rules of this Court, the Federal

Rules of Civil Procedure, the Orders entered by the Court, and any agreements of the parties.

Muzin objects to this Interrogatory as overly broad and unduly burdensome, because it seeks

information that is not relevant to any claim or defense in this case, exceeds the scope of

permissible discovery, and is not proportional to the needs of the case. This Interrogatory is also

overbroad and unduly burdensome in that it seeks information created long after the time frame of

the allegations contained in the FAC. Muzin will not provide information that was created after

March 26, 2018, the date on which Broidy first filed suit against Muzin for the same alleged

conduct in the U.S. District Court for the Central District of California. Muzin also objects to this

Interrogatory to the extent that it seeks Proprietary Information. Muzin also objects to this

Interrogatory as overbroad and unduly burdensome to the extent it seeks information that is

publicly available or is equally or more readily available to Broidy. Muzin objects to Broidy’s use

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of the term “describe” to the extent it constitutes separate interrogatory requests in violation of

Rule 33(a)(1) and the parties’ agreement limiting the number of interrogatories.

       Response: Subject to and without waiving any of his objections, Muzin responds that he

did not hold administrative or signature authority for any non-profit entities between March 31,

2017, and March 26, 2018. Muzin will not provide documents or information generated after

March 26, 2018, the date that Broidy filed his initial case against Muzin in the Central District of

California.

       During the period between March 31, 2017, and March 26, 2018, Muzin was the 100%

owner of Muzin Capital Partners (which is no longer in operation) for a portion of that time period,

and Muzin was the 100% owner of Stonington Strategies, LLC for a portion of that time. Muzin

did not have any partners in either of those entities. Muzin was also the 100% owner of Shlish

Berkarka, LLC (which is no longer in existence) for the time between March 31, 2017, and March

26, 2018.

Dated: December 22, 2021                             Respectfully submitted,

                                                     By: s/ Stephen J. Obermeier
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   Broidy Capital Management, LLC v. Muzin, et al. , Case No. 1:19‐cv‐150 (D.D.C.)
Muzin Responses and Objections to Plaintiffs' First Interrogatories ‐ December 22, 2021
                         Attachment A ‐ CONFIDENTIAL




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   Broidy Capital Management, LLC v. Muzin, et al. , Case No. 1:19‐cv‐150 (D.D.C.)
Muzin Responses and Objections to Plaintiffs' First Interrogatories ‐ December 22, 2021
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                                        VERIFICATION

       I, Nicolas D. Muzin, pursuant to 28 U.S.C. § 1746, declare and verify under penalty of

perjury that the facts contained in the foregoing Objections and Responses to Plaintiffs’ First Set

of Interrogatories are true and correct to the best of my knowledge at this time.

       Executed in Silver Spring, Maryland, this 22nd day of December, 2021.




                                       Nicolas D. Muzin
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                               CERTIFICATE OF SERVICE

       I hereby certify that on December 22, 2021, a true copy of the foregoing was served via

electronic mail to:

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                                                  s/ Stephen J. Obermeier
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